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                          EXHIBIT 1
      Case 3:22-cv-00049-NKM-JCH Document 171-1                       Filed 02/27/23 Page 2 of 8 Pageid#: 1732
1   DoD Attorney Client Privilege

    --- -Ori_ginal Message----
    From:l lli)l6}                 !USAF OSD OUSD POLICY (USA) l(b)(6)             lmil@mail.mil>
    Sent: Wednesday. February 12, 2020 12:10 PM                ~ ~ - -- -~
    To:l tb\f6)            ICIV OSD OUSD POLICY (USA) l(b)(6)        iciv@mail.mil>
    Subject: FW: Baby L. DoD Request

    ~
    FYA

     R,
    UhlLJ


    ----Oriflj~al Messaae----
    From:   Ib (6)            ICol USAF OSD OUSD POLICY (USA)
    Sent: Wednesday. February 12. 2020 12:09 PM
    To: !{b){6)                        l@uscis.dhs.gov>
    Subject: Baby L. DoD Request


    l(b)(6) 1

    Request letters at the bottom.
    Thanks ...

    R,
    M

    ...,
    l<b,..,)..,.(6..,.). . - - - - - - - - '~ Col, USAF
    Director
    Force Protection and Emerging Threats
    ASD Homeland Defense & Global Security
    Office of the Under Secreta of Defense for Policy
        (b)(6)



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    s




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                          OFFICE OF THE ASSISTANT SECRETARY OF DEFENSE
                                       2600 DEFENSE PENTAGON
                                     WASHINGTON, O.C. 20301 -2600


HOMEU\NO Df:F'ENSE': 0,
  GLOBAl. SECUAlTY

         MEMORAN DUM FOR UNITED STATES ClTIZENSH IP AND lMMIGRATION SERV ICES,
                        DEPARTMENT OF H OMELAND SECURITY

        SUBJECT: Department of Defense Request to Expedite Review ofl-134 Application for Baby L ..
             . Mast

                This memorandum documents the official request for USCIS to expedite the review of
        said application, pursuant to USCIS Po licy Manual, Volwne 1, Part A, Chapter 12, and outlines
        the criteria met fora "Departmeot of Defense or National Interest Situation."

                    Baby L.      Mast ("Baby L. is a six-month-old infant female that suffered serious
        injuries at approximately forty-five days of age during a U.S. combat operation on 6 September
        20 l 9. Due to her unique status as an orphaned stateless minor, and her need for ongoing medical
        care, a member of the Department ofDefense (DoD) applied for and was granted sole legal
        custody ofBaby L. ·on 6 November201 9 by a U.S. court. On l0November20 19, asecond
        U.S . court issued an order granting Baby L. a ".Record of Foreign Birth" birth certificate
        finding that Baby L. birth country and nationality/citizenship is "unknown, " and providing
        her with her sole legal identity.

                The D oD bas an interest in ensuring the safety of DoD Dependents, and providing them
        with their statutorily authorized benefüs, iacluding healtb care. Within DoD, the Defense Healt:h
        Service (DHS) specitically has an obligation to ensure the safety of every patient, and to protect
        the Patient Righcs outlined by Deparnnent ofDefense Instruction (DoDI) 6000.14. Il is in the
        best interest of the Department of Defense and the U.S. G~vernment that thjs , l ication be
        reviewed expeditiously. l am providing a memo from Col (b)(6 )                    that further
        details our request and provides extensive supporting information.

               I respectfully request favo rable consideration of this request. My point of contact for
        questions or further discussion is Colj (b)(6)               [ and he can be reached at
      i(b)(6)              ~mil@maH.mil otj(b)(6)            1




                                                      ~~'---------
                                                      Deputy Assistant Secretary of Defense
                                                      for Defense Continuity & Mission Assurance



                                                   UNCLASS




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                           OFFICE OF THE ASSIS T ANT SECRETAR Y OF OEFENSE
                                          2GOO OEFENSE PENTAGON
                                         WASHINGTON , D .C 203 0 1· 2600



1-<0MEI..AND OEFENSE &
  (J i_Q J)"'L SEC URITY

          MEMORANDUM FOR UNJT ED STATE$ CITIZENSHJP AND lMMIGRA TION SE RVICES,
                           DEPA RT MBNT OF HO MELAND SECURITY

          SUBJECT : Deparrment ofDefense Request to Expedite Review of 1- 134 Application for BabyL.1
                           Mast

                 Th is memorandum p rovides furthcr explanation and suppo11ing documcnts for the official
          request for US CIS ro expedite tne review of the 1-1 34 app lication for Baby L. Mast
          ("Baby L. .

                   Bab y L. is a six-monU1-old infan t fem a lc th al s uffered serio us inj uries at
          approximately forty-five days of age during a U.S. combat operation on 6 September 2019 (T AB
          B). Her injuries werc sustained during an explosive breach of a compound wall, fragmenlation
          grenades, and a s uicide vest.

                   Baby L. has been a patient of the Defense H ealfh System since 6 Septem ber 20 19.
          Due to her ltnique status as an orphaned statclcss, minor, and her need fo r o ngoing medical care,
          a member of the Department ofD efern;e (DoD) applied for and was granted sole legal custody of
          Baby L. on 6 ovember 2019 by a U.S. court (TAB C). On 10 November 2019, a second U.S.
          court issued an order grant ing Baby L. a "Record of Foreign Birth'' birth certificate fi nding that
          Baby L. birth country and na tionali1y/citizcnship is "unknown," and providing her wïtb her
          sole legal identity (TA B E).

                    T he OoD has an interest in e11stiring the safety ofDoD D ependents, ànd providing them
          wi tJ1 their statutorily authorizcd benefits. including hcalfü carc. Wi l11jn DoD, the Dcfensc H callb
          Service (DHS) specilically has an obligation to ensure Lhe safety of every patient. and to protect
          the -Palien t R ights oullined by Department of Defense lnslruct ion (DoDT) 6000.14. These rîghts
          include the right to be treated in a safe environment, as welf as to participate in treatment
          decisions, and choose betwecn appropriate medica! providers.

                   The DoD and DHS ' s in terests outl i.ned above conlribute to the read incss oflhe Am,ed
          Forces, as it allows DoD membe-rs to focus on the ir individual roles and responsibi lities,
          knowing lhal Lhe trust they place in DHS whil e their dependenl is under its care is well founded.
          DH S provides support to the warfighter by ensuring excellent. safe, and appropriate care fo r each
          patie nl, esp ecia lly vulnerable dependents such as infants and c bildren.

                    ln this case, Baby L. has boen a patient at the C raig J oint Theatre Hosp ital, in a
          combat zone, at B a&rram A ir Field, under sporad ic roe ket fire, for over 145 clays. Sign1ficant
          resources of ti me, cffort, and cosls have been invcstcd in ensuring Lhat Baby L. fu lly rccovcrs




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     from her injuries. Given the inherent dangers of indirect and other hostile fires in her current
     location, her tender age, and the risk of infection and disease in an active military hospital, the
     Jocation is not appropriate for her safety or development.

                In addition, Dr. j(b)(S)     !a Pediatrician at the University ofVirginia's Children's
     Hospita! , has prepared a treatment regimen addressing Baby L. medica! needs, and has
     accepted her as a patient (TAB B). Given the likely need for cranium cap to reshape Baby L.
     deformed skull before it hardens as she matures, time is of the essence.

             For the reasons outlined above, a medevac to the United States is necessary and
    appropriate. Given the role of the DoD in Baby L. injuries and being stJ:anded as a foreign
    female orphan in an extremely dangerous region for vulnerable children, a parole visa is
    particularly appropriate for this child.

              The DoD is not advocating for adoption. Rather, we are advocating for urgently
     required medica! care. Understanding that identity and extensive medica! condition are of
     concern and addressed below, see below:

     ldentity

     Per the facts in TAB E, and the findings of two U.S. judges, Baby L. is an orphaned stateless
     minor whose birthplace and residence is unknown. She has been a patient in the custody o f the
     U.S. Government since 6 September 2019. She bas a valid court order from the Commonwealth
     of Virginia Juvenile and Domestic Relations Court ordering her legal name to be ''BabyL.
              Mast," and her legal birthday to be 24 July 20 l 9. A V irginia Circuit Court also found,
     based on the facts and circumstances regarding her recovery, that L. nationality and
     citizenshi is unknown and directed the Vir inia De artment ofVital Statistics to roduce a
     Certificate ofForeign Birth. TAB E details the circurnstance of Baby L. having no identity
     prior to these court orders. As per TAB E,     Baby L.        Mast is a six-month-old stateless
     infant with no known citizenship or nationality in the sole legal custody of Joshua and Stephanie
     Mast.

     In addition, Baby L. has been approved by Headquarters, United States Marine Corps, to enroll
     in the D cfcnsc Enrollmcnt Eligibility Rcporting Systcm (DEER S) as the lcgal dcpcndcnt of Capt
     Joshua Mast, an Active Duty Marine. As a DoD dependent, Baby L. has been enrolled in
     TriCare, the U.S. military's health insurance program for service members and their dependents
     (TAB C). Consequently, all of Baby L. medica! costs will be covered by TriCare health
     insurance.

    Nature and Severity of the Medical Condition

     As per TAB B, Baby L. has suffered traumatic injuries to her head and femur. Her attending
     Neurosurgeon at CJTH indicated Baby L. skull fracture "needs frequent medical assessment
     and evaluation bevond standard wellness checks for repeat imaging or seizure prophylaxis as


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     indicatcd if shc dcvclops 11cw fluid accwnulation due to failcd skull fracture healing or dclayed
     onset ofseizures that are life threatening.'· ln the images of Baby L. the significant
     swclling/skull dcfonuity can be obscrvcd, and Baby L. will likcly rcqu irc the use of a cranjal
     orthosis to reshape her skull.

     Tn regards to B aby L. open left femur fracture, her attending Orthopedie Surgeon assessed
     that she requires ••frequent medica! assessment and evaluation beyond standard wellness checks
     with repeat imagi ngto evaluate for femur growth mismatch and future gait and mobility
     difficulties. [f growth mismatch occurs, surgical correction will b e required to prevent gait
     dysfunction, mobility delays, and hip and knee over-correct ion issues that wilt lead Lo lifelong
     disability."

     Baby L. attending B urn Surgcon, indicatc lhal her burn injuries rcquircd ··frequent
     monitoring and evaluation beyond standard wellness checks for evaluation of burn scar
     progression and li fc long evaluation for increased risk for squamous eelt carcinoma and skin
     contracture. Contractures will need surgical management or e lse w ilt lead to deformity and
     Jifelong disability."

     As per TAB B. consequences for Jack of evaluation, monitoring, and treaLment may include:
     " ... if she. develops new flu id accumulation due to failed skull fracture healing or delayed 011set
     of seizures thal are Ii fc thrcatcning,'" 'polcntial li Cc Lhrcatcning imp 1icalions," " l i fclong
     disabi lity," and "defom1ity and lifelong di sabi lity," in addition toa variety ofother increased risk
     factors givcn her tender age.

     Availability and Accessibilily ofRequired Medical Trcatment in Afghanistan

     TAB Dis a letter to the Afghan government from ~frs. Kimberly Motlcy, Esq., an American
     c itizen who is the only foreign attorney licensed to practice law in Afghanistan. Mrs. Motl ey has
     law offices in botb the United States and Afghanistan and bas been working in the Aîghan legal
     system dealing with chi Id rrafficking and adoption since 2008. Sh e originally became aware of
     Baby L. circumstances through. American roj]jtary p crsonnel and volunteercd to inlervene on
     her behalf to seek medical care in the United States. Mrs. Motley notes in her letter "I am not
     aware ofany govemmenlal instilutions in Afghanistan Lhat can provide the long- term medica],
     socia l, and sccurity care that wi l! adcguatcly protcct her."

     Mrs. Motley's assessment was echoed in meetings with tJ1e Afghan Ministry ofLabor and Social
     AJTairs (MOLSA) and other Afghan officials, w ho all expressed that the Afghan government did
     not have the capability to care for a chi Id of Baby L. age or with her medica! needs.

     According to the World Health Organization (T AB F), the "Hospita! and Laboratory Services" i11
     Afghanistan in 2019 are cbaracterized by:

                     InsuCficient quality of lertiary care and low lrust i.n public hospitals.
                     Lack of standard models fo r public hospita Is.


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            •       Lack of a hospital accreditation system.
            •       Absence of continuous medical education programs to improve clinical
                    care in hospitals.
            •       Limited number of skilled laboratory technicians, particularly at provincial
                    and district levels.
            •       Lack of drug supplies and necessary medica! technologies in hospitals.
            •       Old infrastructure in national and some regional hospitals .
                    Low capacity ofhosp ital management.
            •       Lack of quality standards for laboratories and low-quality lab services.
                    Enclosure (11 ).

     Access to "Essential Medicine and Health Technol ogies" was also poor. T he WHO states that
     "Access to essential drugs through basic health care and secondary and tertiary health services is
     among the key concerns ofMoPH and partners, but geographical constraints and security
     problems are affecting appropriate utilization and access to essential medicines. Both the
     quantity and quality of essential medicines are major challenges for the health system." Other
     factors in this poor assessment included:

                    Limited number of skilled pharmaceutica1 experts, low capacity in the
                    quality control system.
                    Low capacity in some aspects ofregulatory function s such as registration
                    and Good Manufacturing Practices inspection.
                    Long and open borders with neighboring countries make it very
                    challenging to take control of illegal medicine smuggling.
                    Poor health-seeking behavior and the high cost of healthcare in remote
                    areas lead to self-medication.
            •       Inappropriate use of medicines by phannacists and practitioners.
            •       Over-the-counter use of antibiotics increases the risk of antimicrobial
                    resistance.

     Agreement to Provide Treatment for Identified Conditions

     Per TAB B, Dr.l(b)(6)        1 a pediatrician with the University of Virginia Children's Hospita!
     bas been selcctcd as the Primary Care Manager for Baby L. under the TriCare h calth insuranee
     program.

     Length of Time Required for Medica! Treatment

     Per TAB B, and the discussion in "Nature and Severity of the Medical Condition" section above,
     based on the serious ramifications offailing to detect complications in her injuries, and the
     variety ofrecommendations of medical professionals treating Baby L. at the CJTH in TAB B,
     18-24 months to ensure full recovery in a critica! growth stage would be appropriate.

     Cost of Treatment & Financial Coverage


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     Per TAB E, Ilaby L. is in Lhe sole Ie.gal custody of Joshua and Stephanie Mast, has been
     emollecl io Lhe Depcndent Eligibility Enrollment System (DEERS), and is covered by TriCare
     heaJth insurance as a result of her s tatus as a ward of Capt Mast. Tirns. a ll necessary m edica!
     trcatment will be covorcd by the military's hcalth insurance. Based on tbc cxtcnsivc list of
     medica! requirements, the cost of Baby L. recovery wi Il like ly be in the lens of thousands of
     dollars.

     Evidence of Lcgal Guarctiansbip in the U.S. & ConscnL for Treatme nt

     As per Encloi.ure (5), Baby L. is in the sole legal custody of Joshua and Stephanie M asl, and
     they wi l! consent to any necessary med ica! treatment once L. is admirted to the University of
     Virginia Cllildrcn·s Hospita!, wllich is locatcd J.9 miles from Capt Mast's permanent duty
     station at the Judge Ad vocate General 's Lega l Center and School, in Charlortesville, VA.

              Baby L . has experien ced signîficant trauma already in her young life and the cond itions
     for someone of her particular vulnerabilities in Afghan istan are extremely '1oslile, even without
     her m e dical needs. With her ongoing need for access to med ica! care, she wi l I not survive if leff.
     in Afghanistan. The nature and so urce ofBaby L. injuries are dircctly tied to the Uni lcd
     States, as is the fact that she is al ive and on the road to recovery.

                         P lease- do not hesitate to contact me should you require any additional documentation to
     assist ou in reodering a fävorable decision regarding. this requcst. 1 can be reached at
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